                Case:
ILND 450 (Rev. 10/13)    1:21-cv-02045
                      Judgment in a Civil Action Document #: 39 Filed: 12/08/23 Page 1 of 1 PageID #:290


                                  IN THE UNITED STATES DISTRICT COURT
                                                FOR THE
                                     NORTHERN DISTRICT OF ILLINOIS

 Jordan Watkins,

 Plaintiff(s),
                                                               Case No. 21 C 02045
 v.                                                            Judge Franklin U. Valderrama

 United States of America,
 Dr. Brij Mohan, Jane Does and John Does,

 Defendant(s).

                                          JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $ ,

                          which      includes       pre–judgment interest.
                                     does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s) United States of America, Dr. Brij Mohan, Jane Does and John Does.
                 and against plaintiff(s) Jordan Watkins.

         Defendant(s) shall recover costs from plaintiff(s).


                 other:

This action was (check one):

      tried by a jury with Judge      presiding, and the jury has rendered a verdict.
      tried by Judge      without a jury and the above decision was reached.
      decided by Judge Franklin U. Valderrama on a motion.



Date: 12/8/2023                                         Thomas G. Bruton, Clerk of Court

                                                        Analeah Charles, Deputy Clerk
